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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY


 In re VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC. SECURITIES
 LITIGATION                                   Master No. 3:15-cv-07658-
                                              MAS-LHG
 This Document Relates TO:
                                              CLASS ACTION
 Case No. 3:15-cv-07658-MAS-LHG
                                              Judge Michael A. Shipp

                                              Magistrate Judge Lois H.
                                              Goodman

                                              Special Master Hon. Dennis M.
                                              Cavanaugh, U.S.D.J. (Ret.)


                                              NOTICE OF APPEAL
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      Notice is hereby given that Class Member/Objector Cathy Lochridge appeals

to the United States Court of Appeals for the Third Circuit from the Order (ECF

No. 657) Granting Lead Plaintiff TIAA’s Motion to Adopt the Special Master’s

Report and Recommendation Granting Final Approval of (1) the Class Action

Settlement and Plan of Allocation, and (2) an Award of Attorneys’ Fees and

Expenses to Plaintiffs entered in this action on January 31, 2021. Lochridge further

appeals to the United States Court of Appeals for the Third Circuit from the

Memorandum Opinion (ECF Doc. No. 659) entered in this action on February 1,

2021, and all orders and opinions that merge therein. Lochridge further appeals to

the United States Court of Appeals for the Third Circuit from the Order and Final

Judgment (ECF Doc. No. 664) entered in this action on February 5, 2021, and all

orders and opinions that merge therein. Lochridge further appeals from any order

or judgment naming or identifying Lochridge or the objection filed by her, and

from any order imposing sanctions or requiring an appeal bond, including any

order entered or signed subsequent to this notice of appeal.




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DATED: March 1, 2021                     Respectfully submitted,



                                         /s/ Jerome J. Froelich, Jr.
                                         Jerome J. Froelich, Jr.
                                         Admitted, District of New Jersey
                                         McKenney & Froelich
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                                         Robert W. Clore
                                         Motion for Reconsideration of Denial of
                                         Motion for Pro Hac Vice Admission
                                         Pending 1
                                         Bandas Law Firm, P.C.
                                         500 North Shoreline, Suite 1020
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                                         Counsel for Cathy Lochridge




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    Mr. Clore is admitted to the United States Court of Appeals for the Third Circuit.


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                                       Certificate of Service

      The undersigned certifies that today he filed the foregoing objection and

associated declarations on ECF which will send electronic notification to all

attorneys registered for ECF-filing.

DATED: March 1, 2021



                                        /s/ Jerome J. Froelich, Jr.
                                        Jerome J. Froelich, Jr.




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